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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

Elizabeth Placzek,                                     Court File No. 0:18-cv-02952-JNE-KMM
                                       Plaintiff,
         vs.
                                                       DEFENDANTS’ MOTION FOR
Mayo Clinic, and                                       SUMMARY JUDGMENT
Mayo Clinic Health System-Southeast
Minnesota Region,
                                     Defendants.

         Defendants Mayo Clinic and Mayo Clinic Health System Mayo Clinic Health System-

Southeast Minnesota Region, respectfully move this Court for an order:

         1.        Granting Defendants’ Motion for Summary Judgment in its entirety;

         2.        Dismissing Plaintiff’s Amended Complaint in its entirety and with prejudice; and

         3.        Awarding Defendant its reasonable fees and expenses incurring in bringing this

Motion.

         This Motion is based upon Rule 56 of the Federal Rules of Civil Procedure, and upon the

forthcoming Memorandum in Support of Defendants’ Motion for Summary Judgment and all

supporting documents, which will be filed and served in accordance with Local Rule 7.1, and upon

the files, records and proceedings herein.


Date: January 31, 2020.                              s/ George R. Wood
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